Case 1:18-cv-00514-API\/| Document 1 Filed 03/06/18 Page 1 of 18

United States District And Bankruptcy Courts For The District Of Co|umbia.

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Case: 1:18-cv-00514 (F-Deck)
Assigned To : Mehta, Amit P.
Assign. Date : 3/6/2018

VS Description: Pro Se Gen. Civi|

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COl\/|PLA|NT:

| injured my back in a car accident in july of 2013. | Wa|ked away from the

Case 1:18-cv-00514-API\/| Document 1 Filed 03/06/18 Page 2 of 18

accident pretty shaken up and mildly in pain. l didn't think right then to

Seek medical care because l didn't think | needed it. lt Wasn't until the next

day of my accident that | started feeling intense back pain. That's When |

decided to seek medical treatment. l had subsequent back therapy and

treatment from 3 different providers. All 3 providers treated my back pain

and some radiating pain that | had going down my left leg from What the

pinched nerve in my back. Pain management of Rockville, the last of the 3

providers that | Went to before The Veterans Hospita| suspected Sciatica,

A back condition that sometimes sends pain signal down the leg, it is a very

common symptom With people With that condition. | had aggravated my

Case 1:18-cv-00514-API\/| Document 1 Filed 03/06/18 Page 3 of 18

condition When at one time, | attempted to pick up my son Who Was a

toddler then, That's When l started feeling more of a pinch in my back and

some pain going down my leg. Pain management of Rockville administered

2 lumbar cortisone injections 2 weeks apart. |Was in much much more

pain after the second injection, my pain level expanded tenfo|d. |\/|y back

muscles soon became stiff, so stiff in fact that | coudn't turn around. |\/|y

Wife then drove to the Emergency Room at the VA hospital in Washington

DC. Going to the Va Hospital Was a conscious choice. | had objected the

second round of the cortisone injection because my back Was in terrible

pain after the first shot of the Lumbar cortisone lnjection. | vividly an

episode When | couldn't move my left leg trying to go up the steps in my

Case 1:18-cv-00514-API\/| Document 1 Filed 03/06/18 Page 4 of 18

house. |freaked out and called pain management of Rockville to inform

them of this new development and to tell them to cancel the second

scheduled injection. | was told to honor the appointment so that l could

tell the doctor the side effects that l was having. | kept the second

appointment and told the Dr about my symptoms. Dr Hough Stuart,

the Physician that saw me recommended that | go ahead with the

second injection and that it was necessary to offset the side effects that

l was having, l disagreed but reluctantly accepted as it seemed my only

option to get better. l ended up in the ER at the VA hospital within 2 weeks

of my second lumbar injection l was saying earlier that the muscles in my

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 5 of 18

back had tightened so much that l couldn't turn around so the choice to go

the VA hospital arose from a need of seeking better healthcare and not

be subjected to treatment that may not have been warranted for financial

reasons. | thought | was lucky to have the Va, an incredible option for

someone in my shoes, a God sent option. Upon arrival the ER, | was given a

muscle relaxer in a shot in my back to loosen up the rigid muscles. | was

scheduled for an El\/lG test as a result of the emergency room visit. l\/ly first

ever such visit to the VA hospital pertaining to my car accident was

because of back pain. There had been at that point no mention whatsoever

of ankle pain, edema, tendinitis, hip displacement nor painful skin rashes.

On January 9th of 2014, without knowing what to expect, l went in for my

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 6 of 18

E|\/|G test. lt was my first time time meeting michael h pfeiffer. l was

ecstatic meeting michael h pfeiffer. | had been stationed in Germany during

my first tour of duty. l had been very impressed at how the Germans

worked. | worked in the motorpool as a lightwheel vehicle mechanic and

the German civilians were the go to people when it seemed all else failed.

| had also almost lost my left eye in Germany, | was treated for a month

in a German hospital and l marveled at the technology but furthermore

wonderful care that | received. l had never experienced such a level of

care and expertise so when | met michael h pfeiffer, he had already an

incredible amount of good feelings from my part and | couldn't be happier.

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 7 of 18

| made or should | say attempted to make a connection with him by

conversation. | had threw out to him the few words of German that

remained in my vocabulary. The feeling did not last long, | was in instant

agony as soon as michael pfeiffer started applying the E|\/|G machine to

my left ankle. l kept hollering and was in tears, at one point, l almost

fell out of the chair, that's when michael h pfeiffer decided to stop that part

of the test. | soldiered through the second part of the test. i was in terrible

pain but had no idea of what to expect from the El\/lG, l didn't know if what

had just transpired was the norm or not. michael h pfeiffer seemed upset

at me for being in pain and became so cold that he wouldn't talk to me any

|onger, he informed me that he was finished and walked out and left me

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 8 of 18

there. Unbeknownst to me, my ankle had just been injured, my life had

just took a turn for the worse. l left the VA hospital hobbling not knowing

what to think. l was back in the Emergency room less than 2 weeks later

but that time for different reasons. l was back this time because of leg pain

and because | would lose total feeling in my left |eg, one of the scariest

experience of my existence. | remember poking my left leg hoping to get

some feeling back in it. lt was during that emergency room visit that | first

noticed the swollen area on my ankle. | asked the nurse what it was. She

said that she didn't know. On my next visit, | asked my primary care

physician Dr Luse David for a test to see what was that bump on my ankle.

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 9 of 18

Dr Luse told me that he didn't think it was anything to worry about. l had

to plead with him to get my ankle looked at. Dr Luse reluctantly scheduled

me for a Soundscan exam. The Soundscan showed a tremendous Contrast

between the left leg and the right leg. The blood circulation looked

hampered and spotty. The older Filipino Technician even attributed it to my

nerve problem, the second technician was standoffish, only telling me that

my primary care physician would decipher the test results and reach out to

me. The lack of follow up left me guessing especially that my injury was

below the skin and only manifested in that swollen area of my ankle. l still

assumed that my worsening health was the resulf of the lumbar cortisone

injections. Dr Luse David sent me a note in the mail 2 weeks after the

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 10 of 18

soundscan, once again he dismissed my concern, minimising my injury.

I\/ly treatment at the Va hospital was labored. lt seemed that l had to ask

treatment everytime, there was no follow up, l was left alone to doctor

myself. Dr li the neurologist would make jokes. | was getting different

opinions from within the same hospital. There was no coordination, one

would say one thing, "you have edema", while the next would say the

opposite " you don't have edema ". | was lost in a sea of incompetence, a

sea of confusion and carelessness. lt was during another one of my

therapy sessions that Dr Amanda l\/lcculley, my treating therapist panicked

and told me that my left leg felt frozen and asked me if | knew it, l told her

10

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 11 of 18

no, she instantly had me going back upstairs to my treating physician for

further care. Dr Luse David told me and would tell me on many more

was in limbo ". Had the Va listened to me, it would have

occasions that

known of the incident with michael h pfeiffer as it is mentioned in my

medical records. | had no idea at the extent of my injuries or even that |

was injured at the ank|e, when you are in so much pain, sometimes it is

hard to make sense of the it. | still believed the medicine in the cortisone

injections (depo) had an averse reaction with my body. | was left in the

dark surmising, l couldn't understand. | had a law office look over my

medical records as l kept putting the blame on Pain I\/lanagement of

Rockville, | looked up mr Dennis Capolongo, the Director of the EDNC ( end

11

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 12 of 18

depo now campaign ). l went to his home, gave him my records. |\/|r

Capo|ongo had his expert look over my medical records but couldn't

find where pain management had acted inappropriately, the result was the

same from the lawyers that | had look over my records, they couldn't see

where pain management had deviated from the proper care. l looked and

looked, l thought and thought, what happened to me? l still drew a blank. l

was in the dark. l‘v'ly injury Was subcutaneous and outside of the pain and

bump on my ankle,. there was no real Way of knowing what was going on.

Had this injury on my ankle been outside of the skin, l Would have

imn‘iediately pinpoined the exact origin of it and the manner in which it

12

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 13 of 18

occured. l treated at the Va up until l\/larch 2016 when Dr Luse David

decided to stop my treatment.

l was not surprised really because as l said before | was on my own at the

Va, it was a normal development that mirrored the care that | had received

thus far. l spent 2 hours at my last medical visit with Dr Luse David,

begging and pleading against my dismissal. For 2 hours, Dr Luse would tell

me " you are in limbo " there is nothing more that we can do for you.

during my years of treatment at the Va hospital l was never given a

diagnosis, to this day, l never got a diagnosis from the Va hospital. | went

back to pain management of Rockville shortly after my dismissal from the

Va hospital. l went to show them the results of their actions; so l thought.

13

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 14 of 18

| was seen by Dr Hough Stuart, he had administered my last lumbar

injection a few years prior. Dr Hough after an evaluation immediately

diagnosed me with Complex Regional Pain Syndrome. (the suicide disease).

l had spent years at The VA hospital and never got a diagnosis.

Dr Hough suggested that |'d undergo a procedure that would have them

put a nerve stimulator in my back. l respectfully declined as l still thought

them responsible for my condition not even taking into account the almost

30.000$ that the procedure would cost. | was still in the dark when my

accident attorney l\/lr Stephen l\/larkey ll| called me in may of 2017 to say

that the lawyers from the opposing party (Barwood Taxi) were disputing

14

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 15 of 18

my ankle injury as being part of my accident with them. lt is then, while

revisiting my history, that | made the discovery of how exactly the events

unfolded. Everything started to make sense. The only (thing) injury that

happened to my ankle was during the El\/lG with michael h pfeiffer. l\/|y

medical records explain through michael h pfeiffer's own words how and

exactly where my injury happened. |n retrospect, looking at how | was

( discarded ) and treated at the VA hospital and knowing what | now know.

(michael h Pfeiffer is alleged to not have the proper credentials to work in

position that he is in). | can't help but suspect a concerted effort to conceal

the truth, either that or this is an extraordinary case of aggravated

negligence. The truth is, | could never know as | am still having a hard time

15

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 16 of 18

grasping the reality of my predicament. Whatever the case, l arn now left

handicapped, with Tendinitis, displaced hip,Edema, Complex Regional Pain

Syndrome, Bulging of right knee from weigh readjustment, hyper nerve

sensitivity resulting in painful skin rash. Every so often

lend up in the ER. | want the court to know that the allegations leveled

against michael h pfeiffer put me in fear for my family and |l safety.

l have been pushed out of the hospital and l still don't understand how

a hospital can turn away someone in pain?

| cannot return to the VA hospital as | have lost all trust in them, l cannot

return to the VA hospital and have not returned for care since l was

16

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 17 of 18

dismissed. The allegations raised against the VA when it comes to my case
are as astounding as they are unbelievable.

l am asking the court for relief in the amount of 5 million dollars.

l am at the present time without care and treatment.

l need treatment that can not be substituted by emergency room visits, as l
have had to do a few times, not only is this ethically wrong but also morally
my continuing treatment is linked to this case,

lam grateful at the chance to present my case and be heard by a judge.
Thank you.

Gratefully yours,

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Reuel Jacques Abale Gnalega

17

Case 1:18-cv-00514-APl\/| Document 1 Filed 03/06/18 Page 18 of 18

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18

